Case 2:23-cv-04347-DMG-E Document 18 Filed 06/13/23 Page 1 of 1 Page ID #:126




                                UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

 Case No.    CV 23-4347-DMG (Ex)                                       Date   June 13, 2023

 Title T Mobile US Inc., et al. v. WCO Spectrum, LLC, et al.                         Page    1 of 1


 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               Kane Tien                                                Not Reported
              Deputy Clerk                                              Court Reporter

    Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
              Not Present                                                Not Present

Proceedings: IN CHAMBERS - REASSIGNMENT OF CASE TO JUDGE GEE

       Please take notice that this action has been reassigned to the HONORABLE DOLLY M.
GEE, United States District Judge, pursuant to the Order re Reassign Pursuant to General Order
12-02 filed on June 13, 2023.

       Please substitute the initials DMG in place of the current initials, so that the case number
will now read CV 23-4347-DMG (Ex). As documents are routed using the judge's initials, it is
imperative that the correct initials DMG be used on all subsequent filings to prevent any delays in
the processing of documents.

       Judge Gee's Courtroom Deputy Clerk is Kane Tien. He can be reached at (213) 894-5452.
Judge Gee's courtroom is located on the 8th floor of the First Street Courthouse, Courtroom # 8C.

        Additional information about Judge Gee's procedures and schedules is available on the
court's website at www.cacd.uscourt.gov.




 CV-90                             CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
